                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             CASE NO. 3:24-MC-00048

 IN RE: REQUEST FOR JUDICIAL
 ASSISTANCE FROM THE NATIONAL
 COURT OF FIRST INSTANCE IN CIVIL
 MATTERS NUMBER 41 IN BUENOS
 AIRES, ARGENTINA IN THE MATTER
 OF ELSA GNIECIAK


              GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT
            OF APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782


        NOW COMES the United States of America, by and through, Dena J. King, United States

Attorney for the Western District of North Carolina, and Gill P. Beck, Assistant United States

Attorney, submits this Memorandum of Law in support of the Application for Order, pursuant to

28 U.S.C. § 1782, to execute a Letter of Request from judicial authorities in Buenos Aires,

Argentina for international judicial assistance to obtain certain financial records from Wells Fargo

Bank.

                                       INTRODUCTION

        The request for international judicial assistance comes from the National Court of First

Instance in Civil Matters Number 41 in Buenos Aires, Argentina. Specifically, the Court has

issued a Letter of Request requesting judicial assistance to obtain financial records for use in the

case captioned Matter of Elsa Gnieciak, Foreign Reference Number 753/2022. See Declaration of

Assistant United States Attorney Gill P. Beck, Ex. 2 [hereinafter Beck Decl.] (Letter of Request

received by the U.S. Attorney’s Office on December 29, 2023).

        The facts of this case, as stated in the Letter of Request, indicate that this is a civil

proceeding in which the Argentine Court is administering the intestate succession appertaining to




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the late Mrs. Elsa Gnieciak. In order to make its determination, the Court is requesting information

regarding assets which make up the estate of the deceased, including the existence of bank accounts

held by Mrs. Elsa Gnieciak and amounts of funds held in such accounts.

       The Argentine Court’s request was transmitted to the U.S. Department of Justice, Civil

Division, Office of Foreign Litigation, Office of International Judicial Assistance, Washington,

D.C. pursuant to the Hague Convention on the Taking of Evidence Abroad in Civil or Commercial

Matters, Mar. 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 12140 [hereinafter Hague Evidence

Convention].

       The request was then transmitted to the U.S. Attorney’s Office for the Western District of

North Carolina for execution in accordance with 28 C.F.R. § 0.49(c). In order to execute these

requests for international judicial assistance, authority must be obtained from this Court. 28 U.S.C.

§ 1782.

                                          ARGUMENT

I.     THE HAGUE EVIDENCE CONVENTION

       The Hague Evidence Convention affords each signatory nation the use of the judicial

process of other signatory nations, where such assistance is needed in civil or commercial matters,

“to facilitate the transmission and execution of Letters of Request and to further the

accommodation of the different methods which they use for this purpose.” Hague Evidence

Convention pmbl. The Hague Evidence Convention “prescribes certain procedures by which a

judicial authority in one contracting state may request evidence located in another contracting

state.” Société Nationale Industrielle Aérospatiale v. U.S. Dist. Court for the S. Dist. of Iowa, 482

U.S. 522, 524 (1987). The Hague Evidence Convention is in force in both the United States and

Argentina. Hague Conference on Private International Law, Status Table for the Convention of 18

March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters, available at


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https://www.hcch.net/en/instruments/conventions/status-table/?cid=82 (last visited May 25, 2024)

(the Hague Evidence Convention entered into force in Argentina on January 30, 1988).

         When executing a Letter of Request, the Hague Evidence Convention requires a Requested

Authority to “apply the appropriate measures of compulsion in the instances and to the same extent

as are provided by its internal law for the execution of orders issued by the authorities of its own

country or of requests made by parties in internal proceedings.” Hague Evidence Convention, art.

10. Furthermore, Article 9 of the Hague Evidence Convention provides, in pertinent part, that:

“the judicial authority which executes a Letter of Request shall apply its own law as to the methods

and procedures to be followed, and that a ‘Letter of Request shall be executed expeditiously.’” Id.

at art. 9.

         Under Article VI of the United States Constitution, treaties, such as the Hague Evidence

Convention, are the law of the land, on an equal footing with acts of Congress, and are binding on

the courts. Whitney v. Robertson, 124 U.S. 190, 194 (1888) (“By the constitution, a treaty is placed

on the same footing, and made of like obligation, with an act of legislation.”). See also Reid v.

Covert, 354 U.S. 1, 18 (2000) (acknowledging that the Supreme Court “has also repeatedly taken

the position that an Act of Congress, which must comply with the Constitution, is on a full parity

with a treaty”).

II.      STATUTORY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING THE
         APPLICATION OF THE UNITED STATES

         Section 1782 authorizes a district court to order a person who “resides or is found” in that

district to produce, testimonial, documentary, or physical evidence “for use in a proceeding in a

foreign or international tribunal.” Id. § 1782(a). The statute permits a court to direct that the

evidence “be produced before a person appointed by the court,” who would be empowered

“administer any necessary oath and take the testimony or statement.” Id. In addition, a § 1782



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order “may prescribe the practice and procedure” for producing the document, including the

practice and procedure of the requesting tribunal. Id. “To the extent that the order does not

prescribe otherwise, the testimony or statement shall be taken, and the document or other thing

produced, in accordance with the Federal Rules of Civil Procedure.” Id. District courts have

repeatedly appointed Department of Justice Attorneys to act as § 1782 commissioners pursuant to

this provision for the purpose of rendering to render judicial assistance to foreign courts. See, e.g.,

In re Clerici, 481 F.3d 1324, 1327 (11th Cir. 2007) (affirming a district court’s appointment of an

Assistant United States Attorney to obtain sworn answers to questions posed in letters rogatory).

       Section 1782 “is the product of congressional efforts, over the span of nearly 150 years, to

provide federal-court assistance in gathering evidence for use in foreign tribunals.” Intel Corp. v.

Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). By this law, Congress intended that the

United States set an example to other nations by making judicial assistance generously available.

See, e.g., In re Request for Assistance from Ministry of Legal Affairs of Trin. & Tobago, 848 F.2d

1151, 1153-54 (11th Cir. 1988) (discussing several historical instances in which Congress has

broadened § 1782, each time increasing the statute’s ability to provide international judicial

assistance), abrogated on other grounds by Intel Corp., 542 U.S. 241.

       This Court is authorized to provide assistance to the Argentine Court if the three

requirements set forth in § 1782 are met. Those requirements are: (1) the person from whom

discovery is sought resides or is found in the district; (2) the discovery is for use in a proceeding

before a foreign or international tribunal; and (3) the application is made “by a foreign or

international tribunal” or “any interested person.” 28 U.S.C. § 1782(a). Accord In re Application

Pursuant to 28 U.S.C. § 1782 for an Order Permitting Bayer AG to Take Discovery, 146 F.3d 188,




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193 (3d Cir. 1988); Schmitz v. Bernstein Liebhard & Lifshitz, LLP, 376 F.3d 79, 83 (2d Cir. 2004)

(quoting In re Application of Esses, 101 F.3d 873 (2d Cir. 1996)).

       Here, each of these threshold statutory requirements is easily met. First, Wells Fargo Bank

“resides or is found in” the Western District of North Carolina because the company’s subpoena

processing center is located in Charlotte, North Carolina.1 Second, the Letter of Request explains

that the documents are “for use in a proceeding before a foreign tribunal” as such financial records

are needed to properly distribute and settle decedent’s estate via intestate succession. See Beck

Decl., Ex. 2. Third, the Letter of Request is made by the Argentine Court, id., which is a “foreign

or international tribunal,” 28 U.S.C. § 1782(a).

III.   DISCRETIONARY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING
       THE APPLICATION OF THE UNITED STATES

       Although “a district court is not required to grant a § 1782(a) discovery application simply

because it has the authority to do so,” Intel, 542 U.S. at 264, § 1782 “grants district courts wide

discretion to determine whether to grant discovery and equally wide discretion to tailor such

discovery to avoid attendant problems,” Esses, 101 F.3d at 876.

       The Supreme Court has identified four factors that a court may consider in exercising its

wide discretion to grant a § 1782(a) request: (1) whether the person from whom the discovery is

sought is a participant in the foreign proceeding; (2) the nature of the foreign tribunal, character of

the proceedings, and the receptivity of the foreign tribunal to judicial assistance; (3) whether the

request conceals and attempt to circumvent foreign proof-gathering or other policies of a foreign

country or the United States; and (4) whether the request is unduly intrusive or burdensome. Intel,

542 U.S. 264-65.


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 When executing requests for financial records, the Office of International Judicial Assistance’s
policies and procedures require that the request be executed in the district where the subpoena
processing center is located for the particular financial institution.


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       The statute’s “twin aims of providing efficient means of assistance to participants in

international litigation in our federal courts and encouraging foreign countries by example to

provide similar means of assistance to our courts” should guide the Court’s analysis. In re Malev

Hungarian Airlines, 964 F.2d 97, 100 (2d Cir. 1992). See also United States v. Morris (In re Letter

of Request from Amtsgericht Ingolstadt, Fed. Republic of Ger.), 82 F.3d 590, 592 (4th Cir. 1996)

(“Plainly, the . . . statute envision[s] considerable cooperation with foreign courts’ requests for

assistance and a general practice of reciprocity.”). Here again, each of these discretionary factors

weigh in favor of assisting the Argentine Court.

       With respect to the first factor, “although this factor was originally expressed as a

‘participant’ versus ‘nonparticipant’ analysis under the facts presented in Intel, the true question

at hand is whether the requested discovery is available to the foreign tribunal without the assistance

of this Court.” In re Request for Judicial Assistance from the Dist. Court in Svitavy, Czech, 748

F. Supp. 2d 522, 526 (E.D. Va. 2010) [hereinafter In re Svitavy]. See also Intel, 542 U.S. at 264

(“[N]onparticipants in the foreign proceeding may be outside the foreign tribunal’s jurisdictional

reach; hence, their evidence, available in the United States, may be unobtainable absent § 1782(a)

aid.”); Palantir Techs., Inc. v. Abramowitz, 415 F. Supp. 3d 907, 912-13 (N.D. Cal. 2019) (finding

that the first factor weighed in favor of granting the § 1782 application because the requesting

German court was unable to compel the production of documents and testimony from a party

residing or located outside Germany without U.S. court assistance). Wells Fargo Bank is not a

party to the proceedings and the evidence held by Wells Fargo Bank appears to be outside the

jurisdictional reach of the Argentine Court because Wells Fargo Bank is physically located in

Charlotte, North Carolina and the Argentine Court has formally requested the assistance of the

United States pursuant to the Hague Evidence Convention.




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        With respect to the second factor, there is nothing in the Letter of Request to suggest that

this Court should decline to grant the Application based on the nature of the Argentine Court or

the character of the proceedings. Additionally, this request was initiated by the Argentine Court

and not by an independent party; therefore, the Argentine Court is clearly receptive to the

assistance of this Court and the second factor weighs in favor of granting the motion. See In re

Request for Int’l Jud. Assistance from the Norrkoping Dist. Court, Sweden, 219 F. Supp. 3d 1061,

1063 (D. Colo. 2015 (holding that because the Swedish court sought judicial assistance from the

United States, the second Intel factor weighed in favor of disclosure.).

        With respect to the third factor, because the requester is the Argentine Court, there is

sufficient assurance that the request for judicial assistance is not an attempt to circumvent

Argentine discovery rules or to thwart the policies of Argentina. See In re Svitavy, 748 F. Supp.

2d at 529 (“[T]he fact that the request was initiated by the Svitavy Court itself, rather than a private

litigant, provides sufficient assurance that the request does not attempt to circumvent Czech

discovery rules or Czech policy.”). There is also nothing to support a conclusion that the request

would thwart the policies of the United States. While the records and information sought by the

Argentine Court are held by a United States financial institution, the Right to Financial Privacy

Act (“RFPA”), 12 U.S.C. §§ 3401-23, does not apply to this request under § 1782. See Young v.

U.S. Dept. of Justice, 882 F.2d 633, 638-39 (2d Cir. 1989) (finding RFPA did not apply to

Department of Justice attorney who was acting in capacity as a commissioner under § 1782); In re

Letter of Request for Judicial Assistance from Tribunal Civil de Port-Au-Prince, 669 F. Supp. 403,

407 (S.D. Fla. 1987) (finding RFPA inapplicable to request pursuant to 28 U.S.C. § 1782).

        And with respect to the fourth factor, the request seeks specific account information

traceable to a single, identified beneficiary and therefore would not be unduly intrusive or




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burdensome. See, e.g., In re Application of Mesa Power Grp., LLC, 878 F. Supp. 2d 1296, 1306

(S.D. Fla. 2012) (holding that “no undue burden exists because the discovery requests being

compelled through this Order are sufficiently tailored.”); In re Application of MTS Bank, No. 17-

21545-MC, 2017 WL 3276879, at *13 (S.D. Fla. Aug. 1, 2017) (holding “An objection must show

specifically how a [discovery request] is overly broad, burdensome or oppressive, by submitting

evidence or offering evidence which reveals the nature of the burden.”) (internal quotations

removed). See also Mees v. Buiter, 793 F.3d 291, 302 (2d Cir. 2015) (“[W]hether a request is

intrusive or burdensome should not be assessed based on the ‘discovery scope’ available in a

foreign proceeding. Few if any foreign jurisdictions permit the scope of discovery available in our

courts.”).

        In summary, consideration of the four discretionary factors set forth by the Supreme Court

in Intel favors authorizing judicial assistance to the Argentine Court.

                                         CONCLUSION

        Attached to the Declaration of Assistant United States Attorney Gill P. Beck is the

proposed subpoena that this office intends to serve (in substantially similar format) on Wells Fargo

Bank should the Court grant the Application pursuant to 28 U.S.C. § 1782. Upon receipt, the

records will be sent to the Department of Justice, Civil Division, Office of International Judicial

Assistance for transmission to the National Court of First Instance in Civil Matters Number 41 in

Buenos Aires, Argentina.

        WHEREFORE, the United States respectfully requests that the Court issue an Order, in the

form attached to the Application, appointing Assistant United States Attorney Gill P. Beck

Commissioner for the purpose of issuing a subpoena to execute the request for international

judicial assistance.




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Respectfully submitted, this 15th day of April, 2024.

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